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                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                               CASE NO. 20-cv-954

    FARHAD AZIMA,

            Plaintiffs,                                             COMPLAINT

            v.

    NICHOLAS DEL ROSSO and VITAL
    MANAGEMENT SERVICES, INC.,

            Defendants.



          Plaintiff, Farhad Azima, by and through his undersigned counsel, files this

   Complaint against Nicholas Del Rosso (“Del Rosso”) and Vital Management Services Inc.

   (“Vital”; collectively, “Defendants”), and alleges as follows:

                                       INTRODUCTION

          1.     Defendants Del Rosso and Vital oversaw and directed the hacking of Plaintiff

   Farhad Azima. Defendants stole Azima’s computer data, including emails and trade

   secrets. The stolen data was then published online and used by Defendants and others, on

   behalf of the Ras Al Khaimah Investment Authority (“RAKIA”), in an attempt to ruin

   Azima’s reputation and damage him financially. Upon information and belief, Defendants

   were engaged and paid by Dechert LLP, which represented RAKIA in a dispute with

   Azima.

          2.     RAKIA, the state investment entity for the government of Ras Al Khaimah,

   hired individuals and companies, directly and through Dechert LLP, to investigate Azima,



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   hack his computers, steal his private data, and weaponize that data in an attempt to ruin

   Azima. Those individuals and companies included Stuart Page in the United Kingdom and

   the Defendants in the United States. Defendant Vital was hired by Dechert LLP through

   partner Neil Gerrard on behalf of RAKIA, and Defendants then hired CyberRoot Risk

   Advisory Private Limited (“CyberRoot”) to provide the technical support necessary to hack

   Azima. CyberRoot is a company based out of Gurgaon, India that engages in illegal

   hacking.

         3.     BellTroX Info Tech Services (“BellTroX”) assisted CyberRoot in hacking

   Azima. BellTroX is a hacking company based in New Delhi, India. According to a June

   9, 2020, press report by Thomson Reuters, BellTroX was involved in “one of the largest

   spy-for-hire operations ever exposed,” helping clients spy on more than 10,000 email

   accounts over a period of seven years. On February 11, 2015, the founder and owner of

   BellTroX, Sumit Gupta, was indicted by the United States Department of Justice in the

   Northern District of California for hacking. Gupta remains at large.

         4.     In its investigation of ‘hack-for-hire’ organizations (including BellTroX),

   Thomson Reuters reviewed a cache of data revealing “tens of thousands of malicious

   messages designed to trick victims into giving up their passwords” – phishing and spear

   phishing emails – that BellTroX distributed between 2013 and 2020. Upon information

   and belief, the data cache revealed that email accounts belonging to Azima and his

   associates were among the accounts targeted by the BellTrox/CyberRoot phishing

   operation.




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          5.   Defendants paid CyberRoot more than $1 million for the hacking of Azima

   and the dissemination of his stolen data.

          6.   At the direction of Del Rosso and Vital, CyberRoot sent Azima phishing and

   spear-phishing emails, and successfully induced Azima to unwittingly provide them with

   passwords for his accounts. The successful hack gave CyberRoot persistent access to

   Azima’s computers and email accounts, and CyberRoot obtained real time access to

   Azima’s emails. CyberRoot disclosed Azima’s stolen data on internet blog sites they

   created. These blog sites contained links to BitTorrent sites and We Transfer sites, set up

   by CyberRoot, that contained at least some of the data Defendants and CyberRoot stole

   from Azima. The work done by CyberRoot, assisted by Bell TroX, was done at the

   direction of the Defendants and others.

          7.   Defendants hacked Azima because they were hired to do so on behalf of

   RAKIA by Gerrard and Dechert LLP. Dechert LLP represented RAKIA in a dispute with

   Azima, and Gerrard wanted Azima’s stolen data to use in a suit to be brought by RAKIA

   against Azima in England. Page, Del Rosso, Gerrard, and RAKIA’s manager James

   Buchanan created a false evidentiary trail to cover up their and RAKIA’s responsibility for

   the hacking, and to suggest that Page had innocently found the hacked material on

   BitTorrents. RAKIA brought the lawsuit against Azima using the hacked material. The

   hacking was a defense raised by Azima, as well as forming the basis for a counterclaim by

   Azima.




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          8.    The English court ruled that RAKIA, Page, and others had lied about how they

   obtained Azima’s stolen data. Del Rosso gave a sworn witness statement in the U.K. suit,

   denying any knowledge of how the stolen emails were obtained. That witness statement

   was false. Del Rosso gave live, sworn testimony during the trial. That testimony was false

   as well.     RAKIA’s lawyers, including Dechert LLP, had also asserted (in formal

   correspondence, witness evidence and pleadings signed by those lawyers) that RAKIA had

   innocently discovered the materials on the internet. Those assertions were also false, given

   the Judge’s ruling.

          9.    As a result of the conduct of Del Rosso, Vital, and their co-conspirators, Azima

   has suffered significant financial and reputational damage.

                                            PARTIES

          10.   Plaintiff Farhad Azima is a U.S. citizen who resides and works in Kansas City,

   Missouri. He is a successful businessman who has owned and operated multiple aviation-

   related companies. Azima’s businesses engage in interstate and foreign commerce. All of

   Azima’s computers and servers were and are located in the United States.

          11.   Defendant Nicholas Del Rosso is the owner and sole employee of his company,

   Defendant Vital Management Services Inc. (“Vital”).             Vital purports to provide

   investigative services, but it is not licensed as a private investigator in North Carolina.

   Vital is located at 1340 Environ Way, Chapel Hill, North Carolina, 27517, and Del Rosso

   lives at 318 Lystra Preserve Drive, Chapel Hill, North Carolina 27517.




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          12.   Defendant Del Rosso is the president and owner of Vital, and he is one of two

   shareholders of Vital, along with his wife.

                                              FACTS

          13.   Dechert LLP and partner Neil Gerrard hired Del Rosso and Vital to

   “investigate assets potentially stolen from the Government of Ras Al Khaimah (“RAK”).”

   Throughout the course of his work for Dechert LLP, which lasted from at least August

   2014 until at least 2019, Del Rosso was hired by Dechert LLP and Gerrard. Del Rosso

   communicated with lawyers from Dechert LLP on a “very regular basis.” Del Rosso hired

   Chris Swecker, a North Carolina-based lawyer, to assist Defendants in their work for

   Gerrard and Dechert LLP.

                        The Hacking of Azima at Del Rosso’s Direction

          14.   Starting in early 2015, Gerrard, Page, Buchanan, and others agreed to attack

   Azima. The agreement is evidenced by a redacted internal “Project Update” report dated

   March 26, 2015, presented by Page to the Ruler of RAK and provided to Buchanan and

   others, as well as numerous emails between Gerrard, Buchanan, and their associates, some

   of which discussed the plan to “target,” “attack,” and “go after” Azima using “another

   channel.” Based on these emails, an English court concluded that the desire to attack

   Azima in the summer of 2015 “is clear.” The Project Update report claimed Azima was

   part of a “US team” to publicize human rights abuses by RAK and Gerrard. The report

   stated that “[t]he campaign is not public yet, so we will be able to gather intelligence on

   their progress in order to monitor their activities and attempt to contain or ruin their plans.”

   Gerrard admitted to reading this report.

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         15.   Gerrard hired Del Rosso and Vital. Upon information and belief, Del Rosso

   was hired to target Azima and to obtain Azima’s emails and confidential data, as well as

   for other purposes; and Page was retained to assist in the targeting of Azima, which upon

   information and belief included hacking Azima.

         16.   Del Rosso hired the Indian hacking firm CyberRoot to provide the technical

   expertise to attempt to lure Azima into providing his login data, so that Defendants and

   their co-conspirators could have persistent access to Azima’s accounts and computers. At

   least five employees of CyberRoot, including one of the company’s directors, Vibhor

   Sharma, hacked Azima pursuant to Del Rosso’s instructions. CyberRoot was assisted by

   BellTroX, which permitted CyberRoot to use BellTroX’s infrastructure, including its

   server, to conduct the hacking. This work was done at the direction of the Defendants and

   others. CyberRoot and BellTroX share common employees. One such employee is Preeti

   Thapiyal, whose LinkedIn page lists his work as including the creation of “undetectable

   phishing Payloads.”

         17.   CyberRoot, assisted by BellTroX, attempted to gain access to Azima’s

   computers and accounts through phishing and spear-phishing emails. They sent Azima

   phishing emails to harvest his credentials and gain access to his email accounts and

   computers. Azima complied, and unwittingly enabled CyberRoot’s hackers to gain access

   to Azima’s email accounts and computers. The breach of Azima’s computer systems gave

   CyberRoot covert and persistent access to Azima’s email accounts and computers.




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          18.   Del Rosso, Vital, CyberRoot, and other co-conspirators, including Dechert

   LLP, Gerrard, and Page, obtained numerous confidential and protected trade secrets

   belonging to Azima and his companies, including but not limited to privileged and

   confidential legal communications and advice and confidential internal pricing lists

   relating to food transport for U.S. troops in Afghanistan.

                The Disclosure of Azima’s Stolen Data at Del Rosso’s Direction

          19.   Acting at Defendants’ direction, CyberRoot created, uploaded, and transmitted

   multiple unauthorized copies of Azima’s data. Upon information and belief, at least some

   of that data was provided to Del Rosso, who was located in North Carolina.

          20.   In late July 2016, Gerrard met with Azima and threatened him. Within days

   of Gerrard’s meeting with Azima, CyberRoot, which was assisted by BellTroX, created

   blog sites on or about August 7, 2016, accusing Azima of fraud. During this same period,

   Del Rosso made significant payments to CyberRoot for their efforts.

          21.   The websites contained links to BitTorrent sites that Dechert LLP later

   admitted contained large quantities of Azima’s stolen data. These BitTorrent links were

   posted by users named anjames and an_james. The usernames anjames and an_james are

   usernames associated with Sharma at CyberRoot. CyberRoot also used the email account

   an_james@protonmail.ch to create these blog sites and upload Azima’s stolen data.

          22.   CyberRoot posted the data on the internet to create the misimpression that the

   data CyberRoot and Defendants stole from Azima were available to anyone who used the

   internet. CyberRoot created BitTorrent links that contained Azima’s stolen data and those




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   links were posted on the blog sites alleging fraud by Azima. Page, Del Rosso, Gerrard,

   and an Israeli journalist, Majdi Halabi, created a false story and evidentiary trail to cover

   up their and RAKIA’s responsibility for the hacking, and to suggest that Page had

   innocently found the hacked material on BitTorrents after being alerted to it by Halabi.

          23.    In fact, the data on the BitTorrent links were not accessible to the public

   because the “seeders”1 necessary for the data to be downloaded were not available.

   Dechert LLP, and others acting at their direction, are the only persons or entities known to

   have obtained the data from the BitTorrent sites.

          24.    In May and June 2018, the blog sites were modified to include new links to

   WeTransfer sites that contained copies of Azima’s stolen data.

          25.    CyberRoot regularly used WeTransfer links to transfer data to Vital.

   CyberRoot      set    up     the    WeTransfer       account     using     the    email     account

   an_james@protonmail.ch.

          26.    In June 2019, the links on the blog sites were modified to include new

   WeTransfer links containing some of Azima’s stolen data. These links, as with all the links

   to copies of Azima’s stolen data, were not authorized by Azima.

          27.    Defendants were engaged by Dechert LLP on behalf of RAKIA. Upon

   information and belief, Defendants were paid by Dechert LLP, directly or indirectly, for

   their work.



   1A torrent seeder is a user who owns the file being made available online through the torrent system.
   Without a seeder, a file cannot be downloaded.



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          28.   Upon information and belief, Dechert LLP paid Defendants more than $1

   million.

          29.   Defendants paid CyberRoot more than $1 million.

          30.   Those payments were for CyberRoot’s hacking services and the distribution of

   Azima’s stolen data.

          31.   At least some of the payments made by Vital were sent to CyberRoot’s bank,

   Kotak Mahindra Bank.

          32.   Substantial payments were made to CyberRoot around the time that Azima’s

   stolen data was published online in August and September 2016.

      Lawsuit Against Azima and False Testimony About Discovery of Azima’s Data

          33.   In September 2016, Dechert LLP partner David Hughes, on RAKIA’s behalf,

   threatened to file a lawsuit in the U.K. against Azima and provided Azima’s counsel with

   some of the emails that Defendants and CyberRoot stole from Azima. RAKIA, represented

   by Dechert LLP, sued Azima in England in September 2016 repeatedly relying on the data

   that Defendants stole from Azima.

          34.   Prior to and during the January 2020 trial in the U.K., Dechert LLP and RAKIA

   repeatedly changed their stories about how Azima’s stolen data was obtained. The English

   court ruled that the story put forward by RAKIA and others on their behalf about how they

   discovered the stolen data was false. Specifically, the court said that the story told by Page,

   Halabi, and others of innocent discovery of Azima’s stolen data was “not true,” involved

   “unexplained contradictions, inconsistencies, and implausible elements,” and “was both




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    internally inconsistent and inconsistent with the contemporaneous documents.” 2 The

    English court said that “the true facts” about how Dechert LLP and others obtained

    Azima’s stolen data still “have not been disclosed,” despite them being required to do so.

    The untrue story of innocent discovery was advanced by RAKIA’s agents. Former Dechert

    LLP partner Hughes signed a statement of truth for RAKIA advancing the story of innocent

    discovery. Others, including Gerrard, Buchanan, and Page, put forward witness statements

    and testimony that supported the story the court found to be untrue.

             35.   Del Rosso was an important part of RAKIA’s false story of “innocent

    discovery” by Page of Azima’s stolen data.             For example, Gerrard and Del Rosso

    exchanged a series of emails on August 15 and 16, 2016, in which Gerrard purported to

    “break the news” of the discovery of the hacked material on websites. But other evidence

    showed that Del Rosso was aware of these websites at least a week earlier. The emails of

    August 15 and 16, 2016, between Gerrard and Del Rosso were clearly an attempt to lay a

    false “paper trail” of discovery.

             36.   In his witness statement, Del Rosso hid his engagement of CyberRoot and

    denied any involvement in the hacking. Because of Del Rosso’s concealment of the true

    facts, of which he had knowledge, Azima did not learn of the role played by Del Rosso and

    Vital until recently.




    2   Ras Al Khaimah Investment Authority v. Farhad Azima, [2020] EWHC 1327 (Ch).



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                                          JURISDICTION

           37.   This Court has federal question subject matter jurisdiction pursuant to 28

    U.S.C. § 1331. Some of Azima’s claims arise under federal law, including the Wiretap Act

    (Counts 1 and 2) and misappropriation of trade secrets under the Defend Trade Secrets Act

    and the Economic Espionage Act (Count 3).

           38.   The Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over

    Azima’s other claims, since those other claims relate to the federal statutory claims in this

    action and form part of the same case or controversy under Article III of the United States

    Constitution.

           39.   Additionally, this Court has diversity subject matter jurisdiction pursuant to 28

    U.S.C. § 1332 because Azima and Defendants are from different states and the amount in

    controversy exceeds $75,000, exclusive of interest and costs.

           40.   The Court’s jurisdiction over defendants comports with due process. The Court

    has personal jurisdiction over Defendants Del Rosso and Vital, who are domiciled or have

    their principal place of business in North Carolina. Del Rosso works at Vital in North

    Carolina and lives at 318 Lystra Preserve Drive, Chapel Hill, North Carolina 27517. Vital

    is based in North Carolina and is located at 1340 Environ Way, Chapel Hill, North

    Carolina, 27517.

                                              VENUE

           41.   Venue is proper under 18 U.S.C. § 1965(a) because the Defendants transact

    their affairs in this Judicial District. Defendants Del Rosso and Vital both transact their




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    affairs in Chapel Hill, North Carolina, with Azima’s causes of action arising out of those

    North Carolina transactions.

           42.    Venue is also proper under 28 U.S.C. § 1391(b)(2) because this is a judicial

    district in which a substantial part of the events or omissions giving rise to the claim

    occurred. Defendants conspired with others and coordinated their illegal campaign to hack

    Azima and publish his stolen data from their principal place of business in Chapel Hill,

    North Carolina.

           43.    Venue is also proper under 28 U.S.C. § 1391(b)(3) because this judicial district

    has personal jurisdiction over all defendants.

                                  COUNT ONE (All Defendants)

     I.    Disclosure of Wire, Oral, or Electronic Communications under the Wiretap
           Act (18 U.S.C. §§ 2511(1)(c) and 2520)

           44.    Plaintiff incorporates by reference the allegations contained in the preceding

    paragraphs.

           45.    It is a violation of 18 U.S.C. § 2511(c) for any person to “intentionally

    discloses, or endeavors to disclose, to any other person the contents of any wire, oral, or

    electronic communication, knowing or having reason to know that the information was

    obtained through the interception of a wire, oral, or electronic communication.”

           46.    “Intercept” is defined as “the aural or other acquisition of the contents of any

    wire, electronic, or oral communication through the use of any electronic, mechanical, or

    other device.” 18 U.S.C. § 2510(4).




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           47.   “Electronic communication” means any transfer of signs, signals, writing,

    images, sounds, data, or intelligence of any nature transmitted in whole or in part by a wire,

    radio, electromagnetic, photoelectronic, or photooptical system that affects interstate or

    foreign commerce.”

           48.   In violation of 18 U.S.C. § 2511(1)(c), Defendants Del Rosso and Vital

    intentionally disclosed wire and electronic communications of Azima knowing and/or

    having reason to know that the information was obtained through interception.

           49.   Defendants Del Rosso and Vital directed CyberRoot to intentionally disclose

    large quantities of Azima’s intercepted data by instructing that the data be posted on

    BitTorrent and WeTransfer. Links to those BitTorrent and WeTransfer sites were added

    to the blog sites that CyberRoot created. CyberRoot worked with BellTroX and at the

    direction of the Defendants to conduct the hacking and post the intercepted data. The

    BitTorrent and WeTransfer sites were posted by users named anjames and an_james, which

    are usernames associated with Sharma at CyberRoot. CyberRoot also used the email

    account an_james@protonmail.ch to create these blog sites and upload Azima’s stolen

    data. The links were updated as recently as 2019.

           50.   The intercepted data included, among other things, business and personal

    electronic communications between Azima and others across the United States and around

    the world.




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           51.   Defendants Del Rosso and Vital caused CyberRoot to hack Azima’s computers

    and email accounts. The hack gave CyberRoot persistent access to Azima’s computers and

    email accounts.

           52.   Defendants Del Rosso and Vital knew or had reason to know that the

    information published on the BitTorrent and WeTransfer sites was obtained through

    interception because Del Rosso and Vital gave the instructions to CyberRoot to intercept

    Azima’s data and paid CyberRoot more than $1 million to conduct the hack and publish

    the stolen data. Defendants Del Rosso and Vital also knew or had reason to know that the

    information was obtained through interception because, among other reasons discussed

    above, it included large quantities of privileged, private, financially sensitive and trade

    secrets data, including private email communications, banking documentation, and

    business plans, including confidential internal pricing lists relating to food transport for

    U.S. troops in Afghanistan.

           53.    As a result of the disclosure of Azima’s intercepted data, Azima suffered

    damages. Since at least June 2018, the stolen data has continued to be publicly available

    on WeTransfer through links that were posted to the blog sites created by CyberRoot,

    resulting in more than $75,000 of statutory damages under 18 U.S.C. § 2520(c)(2)(B), and

    further monetary damages in an amount to be proven at trial. Upon information and belief,

    Defendants Del Rosso and Vital have made significant profits from the disclosure of

    Azima’s data, having been paid large sums of money to disclose the stolen data to damage

    Azima. As a result of the continued disclosure of Azima’s stolen data, Azima has suffered,




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    and will continue to suffer, irreparable harm to his person, reputation, business, and

    community standing.

                                 COUNT TWO (All Defendants)

     II.   Conspiracy to Disclose and Use Intercepted Wire, Oral, or Electronic
           Communications under the Wiretap Act (18 U.S.C. §§ 2511(1)(d) and 2520,
           18 U.S.C. § 371)

           54.    Plaintiff incorporates by reference the allegations contained in the preceding

    paragraphs.

           55.    Defendants Del Rosso and Vital willfully, intentionally, and knowingly agreed

    and conspired with CyberRoot, Dechert LLP, Page, and others to disclose Azima’s

    intercepted data in violation of 18 U.S.C. §§ 2511 and 2520. Among other things,

    Defendants Del Rosso and Vital agreed and conspired to intercept Azima’s data through a

    phishing and spear-phishing campaign resulting in the hackers obtaining persistent access

    to Azima’s computers and email accounts. Defendants Del Rosso and Vital paid more than

    $1 million for the interception of Azima’s data. Defendants Del Rosso and Vital also

    agreed and conspired to disclose the intercepted data by instructing CyberRoot to publish

    the data on blog sites that were created by CyberRoot. CyberRoot used BitTorrent and

    WeTransfer to send the stolen data to Defendants Del Rosso and Vital as well as other co-

    conspirators.

           56.    The BitTorrent and WeTransfer links were posted by users named anjames and

    an_james, which are usernames associated with Sharma at CyberRoot. Defendants also




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    used the email account an_james@protonmail.ch to create these blog sites and upload

    Azima’s stolen data.

           57.    Defendants Del Rosso and Vital, with full knowledge that they were engaged

    in wrongful actions, took steps in furtherance of the conspiracy, including paying more

    than $1 million to the company that conducted the hacking, and later covering up the

    hacking through a story that the English court found to be false.

           58.    Azima has been injured and has suffered monetary damages as a result of

    Defendants’ conspiratorial actions in an amount to be proven at trial. As a result of the

    Defendant’s conspiracy to disclose and use Azima’s intercepted data, Azima has suffered,

    and will continue to suffer, irreparable harm to his person, reputation, business, and

    community standing.

                                COUNT THREE (All Defendants)

    III.   Misappropriation of Trade Secrets, 18 U.S.C. §§ 1831, 1832, 1836

           59.    Plaintiff incorporates by reference the allegations contained in the preceding

    paragraphs.

           60.     Federal law creates a cause of action against “[w]hoever, with intent to

    convert a trade secret, that is related to a product or service used in or intended for use in

    interstate or foreign commerce, to the economic benefit of anyone other than the owner

    thereof, and intending or knowing that the offense will, injure any owner of that trade

    secret, knowingly . . . steals, or without authorization appropriates, takes, carries away, or

    conceals, or by fraud, artifice, or deception obtains” trade secrets. 18 U.S.C. § 1832(a)(1).




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           61.      Federal law imposes criminal penalties on “whoever . . . conspires with one

    or more other persons” to violate § 1832(a)(1). See § 1832(a)(5).

           62.      Federal law also creates a cause of action against “[w]hoever, intending or

    knowing that the offense will benefit any foreign government, foreign instrumentality, or

    foreign agent, knowingly – (1) steals, or without authorization appropriates, takes, carries

    away, or conceals, or by fraud, artifice, or deception obtains a trade secret.” 18 U.S.C.

    § 1831(a)(1).

           63.      Federal law imposes penalties on “[w]hoever . . . conspires with one or more

    other persons to commit” the offense listed in § 1831(a)(1). See § 1831(a)(5).

           64.      “An owner of a trade secret that is misappropriated may bring a civil action

    . . . if the trade secret is related to a product or service used in, or intended for use in,

    interstate or foreign commerce.” 18 U.S.C. § 1836(b)(1).

           65.      Azima’s email accounts and computer systems stored trade secrets, including

    but not limited to highly confidential business plans and proposals, research supporting

    those plans and proposals (including costs and service projections), information concerning

    business strategies and opportunities, and contacts for important business relationships.

    These trade secrets are substantially valuable to Azima, in excess of $75,000, as will be

    proven at trial.

           66.      Azima stored trade secrets that were used in interstate and foreign commerce.

    Azima has taken and continues to take reasonable measures to keep this information secret.




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    For example, Azima has always maintained his information on secured servers that are

    protected by passwords, firewalls, and antivirus software.

           67.    Azima’s trade secrets derive independent actual and potential economic

    value from not being generally known or available to the public or other persons who can

    obtain economic value from their disclosure or use.

           68.    Azima’s trade secrets have significant value, resulting from substantial

    investment of time and resources.

           69.    Azima has made, and continues to make, efforts that are reasonable under

    the circumstances to maintain the secrecy of his trade secrets.

           70.    Defendants Del Rosso and Vital, along with CyberRoot, Dechert LLP, Page,

    and others, unlawfully conspired to take, appropriate, and obtain Azima’s trade secrets

    without authorization, by means of a cyberattack against him. Defendants Del Rosso and

    Vital and their co-conspirators knew that Azima’s email accounts contained trade secrets

    and intended to steal them in order to harm Azima.

           71.    Defendants Del Rosso and Vital improperly disclosed and misappropriated

    Azima’s trade secrets without consent or authorization when they instructed CyberRoot to

    hack Azima, steal copies of his data, including trade secrets, and distribute the data through

    BitTorrent and WeTransfer links on blogs created by CyberRoot.

           72.    As a direct consequence of the unlawful actions of Defendants Del Rosso

    and Vital and their co-conspirators, Azima has suffered damages, which include, but are

    not limited to, loss of business goodwill, loss in the value of his trade secrets and




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    confidential business information, and harm to Azima’s business, in an amount to be

    proven at trial. See 18 U.S.C. § 1836(b)(3)(B)(i)(I). Defendants’ acts of misappropriation

    have affected interstate commerce.

          73.      As a direct consequence of the unlawful actions of Defendants Del Rosso

    and Vital and their co-conspirators, Defendants Del Rosso and Vital have unjustly

    benefited from their possession of Azima’s trade secrets. Upon information and belief,

    Defendants Del Rosso and Vital, who were engaged by Dechert LLP, were paid substantial

    sums of money by Dechert LLP to conspire to steal and misappropriate Azima’s trade

    secrets. Del Rosso and Vital in turn paid CyberRoot more than $1 million.

          74.      Defendants’ conduct was willful and malicious.

                                 COUNT FOUR (All Defendants)

    IV.   Computer Trespass (N.C. Gen. Stat. § 14-458)

          75.      Plaintiff incorporates by reference the allegations contained in the preceding

    paragraphs.

          76.     In violation of N.C. Gen. Stat § 14-458, Defendants Del Rosso and Vital

    directly and/or through their agents knowingly and without authorization or reasonable

    grounds used Azima’s computer and computer network with the intent to make or cause to

    be made unauthorized copies of Plaintiff’s computer data.

          77.     Defendants had no right, authority, or permission to access or use Plaintiff’s

    computer data or computer network.




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          78.     Defendants Del Rosso and Vital conspired with others to use Azima’s

    computer and computer network without authorization to make copies of Plaintiff’s trade

    secrets, confidential business information, and personal information and communications

    that would provide Defendants and their co-conspirators leverage over Plaintiff.

          79.     Defendants Del Rosso and Vital instructed CyberRoot to hack Azima’s

    computer and computer network and aided and abetted the hacking of Azima’s computer

    data and computer network.        At the direction of Defendants Del Rosso and Vital,

    CyberRoot, which worked with BellTroX, carried out the hack on Azima and gained access

    to Azima’s computer and computer network. The breach of Azima’s computer systems

    gave CyberRoot persistent access to Azima’s email accounts and computers. Thus

    CyberRoot, acting at the direction of Defendants Del Rosso and Vital and others, regularly

    used Azima’s computer and computer networks to make unauthorized copies of Azima’s

    computer data, and Defendants Del Rosso and Vital caused these unauthorized copies to

    be made. Defendants Del Rosso and Vital paid CyberRoot more than $1 million for their

    hacking services.

                                  COUNT FIVE (All Defendants)

     V.   Conversion (North Carolina Common Law)

          80.     Plaintiff incorporates by reference the allegations contained in the preceding

    paragraphs.




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           81.   Plaintiff was the lawful owner of his computer data and computer network, and

    was entitled to immediate and exclusive possession of his computer data and computer

    network.

           82.   Defendants directly and/or through their agents and co-conspirators,

    knowingly and without authorization or reasonable grounds, wrongfully possessed and

    converted computer data, documents, spreadsheets, communications, and other files owned

    by the Plaintiff.

           83.   Under North Carolina law, conversion occurs when a defendant wrongfully

    possesses or converts property under the ownership of the Plaintiff.

           84.   Defendants conspired to wrongfully obtain and exercise possession of

    Plaintiff’s computer data, documents, spreadsheets, communications, and other files

    owned by the Plaintiff.

           85.   As discussed in more detail above, Defendants Del Rosso and Vital instructed

    CyberRoot to hack Azima and make unauthorized copies of Azima’s computer data. At

    the direction of Defendants Del Rosso and Vital, CyberRoot successfully hacked Azima

    and converted Plaintiff’s computer data by obtaining and utilizing persistent access to

    Azima’s email accounts and computer systems. Thus CyberRoot, acting at the direction of

    Defendants Del Rosso and Vital and other co-conspirators, regularly accessed Azima’s

    computer and computer networks to make unauthorized copies of Azima’s computer data,

    and Defendants Del Rosso and Vital caused these unauthorized copies to be made.




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    Defendants Del Rosso and Vital paid CyberRoot more than $1 million for their hacking

    services.

                                  COUNT SIX (All Defendants)

    VI.    Identity Theft (N.C. Gen. Stat. § 14-113.20 and § 1-539.2(c))

           86.    Plaintiff incorporates by reference the allegations contained in the preceding

    paragraphs.

           87.    Defendants directly and/or through their agents and co-conspirators knowingly

    and without authorization or reasonable grounds, obtained, possessed, and used identifying

    information of Plaintiff with the intent to fraudulently represent that Defendants were the

    Plaintiff for the purposes of obtaining materials of value, benefit, and advantage.

           88.    Pursuant to N.C. Gen. Stat. § 14-113.20, “identifying information” is defined

    to include “passwords;” “electronic identification numbers, electronic mail names or

    addresses, Internet account numbers, or Internet identification names;” and “any other

    numbers or information that can be used to access a person’s financial resources.”

           89.    Defendants conspired with CyberRoot, Dechert LLP, Page, and others to

    obtain, possess, and use Plaintiff’s identifying information – including electronic mail

    passwords – for the purposes of stealing and misappropriating trade secrets, confidential

    business information, and personal information and communications that would provide

    Defendants and their co-conspirators leverage over Plaintiff.

           90.    At the direction of Del Rosso, Vital, and others, CyberRoot sent Azima

    phishing emails asking him to reset his password. Azima complied, and unwittingly




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    permitted CyberRoot’s hackers to gain access to Azima’s email accounts and computers.

    The persistent access to Azima’s email accounts and computers allowed CyberRoot, at the

    direction of Defendants Del Rosso and Vital, to use Azima’s email addresses and

    passwords to obtain substantial quantities of Azima’s private data, including trade secrets,

    confidential business information, and personal information and communications.

                               COUNT SEVEN (All Defendants)

   VII.    Publication of Personal Information (N.C. Gen. Stat. § 75-66)

           91.    Plaintiff incorporates by reference the allegations contained in the preceding

    paragraphs.

           92.    Defendants knowingly broadcast or published personal information of

    Azima on the internet with actual knowledge that Azima objected to any such disclosure

    and without Azima’s consent or knowledge.

           93.    Defendants published Azima’s private information on blog sites hosting

    WeTransfer links in May and June of 2018, and again in June of 2019.

           94.    This personal information included, among others, checking account

    numbers, passwords, and other numbers and information that can be used to access

    Azima’s financial resources.

           95.    Among other documents, Defendants published financial transaction

    records, spreadsheets, business records, and banking information, all of which were and

    are marked confidential.




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           96.     Defendants’ publication of Azima’s personal information on the internet

    despite Azima’s objection and without Azima’s consent or knowledge directly and

    proximately caused actual injury to Plaintiff.

           97.     Defendants and their co-conspirators were not permitted, authorized, or

    required by any federal, State, or local law, regulation, or ordinance to access, collect,

    use, or release Azima’s sensitive and confidential personal information.

           98. At the direction of Del Rosso, Vital, and others, CyberRoot created blog sites

    accusing Azima of fraud. The blog sites contained links to BitTorrent sites that Dechert

    LLP later admitted contained large quantities of Azima’s stolen data. These BitTorrent

    links were posted by users named anjames and an_james, which are usernames associated

    with    Sharma       at   CyberRoot.   CyberRoot    also   used    the   email    account

    an_james@protonmail.ch to create these blog sites and upload Azima’s stolen data. In

    May and June 2018, the blog sites were modified to include new links to WeTransfer sites

    that contained copies of Azima’s stolen data CyberRoot regularly used WeTransfer links

    to transfer data to Vital. CyberRoot set up the WeTransfer account using the email account

    an_james@protonmail.ch.

           99.     During this same period, Del Rosso made significant payments to CyberRoot

    for their efforts.

           100.    Azima is entitled to damages for each of Defendants’ unlawful acts of

    publication of personal information in accordance with N.C. Gen. Stat. § 1-539.2(c).




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                               COUNT EIGHT (All Defendants)

  VIII.    Violation of Trade Secrets Protection Act (N.C. Gen. Stat. § 66-153 et seq.)

           101.   Plaintiff incorporates by reference the allegations contained in the preceding

    paragraphs.

           102. Azima’s email accounts and computer systems contained business or technical

    information, formulas, patterns, programs, devices, compilations of information, methods,

    techniques, or processes. This information included highly confidential business plans and

    proposals, research supporting those plans and proposals (including costs and service

    projections), information concerning business strategies and opportunities, and contacts for

    important business relationships. This information constituted trade secrets under Chapter

    66 of the North Carolina General Statutes.

           103.   Azima derived independent actual or potential commercial value from these

    trade secrets not being generally known or readily ascertainable through independent

    development or reverse engineering by persons who can obtain economic value from their

    disclosure or use.

           104. Azima has undertaken and continues to undertake reasonable efforts under the

    circumstances to maintain the secrecy of his trade secrets. For example, Plaintiff has always

    maintained his information on secured servers that are protected by passwords, firewalls,

    and antivirus software.

           105. Azima’s trade secrets are substantially valuable to Plaintiff, in excess of

    $75,000, as will be proven at trial.




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           106. Azima kept trade secrets that were used in interstate and foreign commerce.

           107. Azima’s trade secrets have significant value, resulting from substantial

    investment of time and resources. If known to Azima’s competitors, Plaintiff’s trade secrets

    would be of value to those competitors.

           108. Azima’s trade secrets included, among others, confidential internal price lists

    and confidential spreadsheets connected to contracts with the United States government to

    supply troops in Afghanistan.

           109. Defendants Del Rosso and Vital, along with CyberRoot, Dechert LLP, Page,

    and others, unlawfully conspired to acquire, disclose, or use Azima’s trade secrets without

    express or implied authority or consent by means of a cyberattack against Azima.

    Defendants Del Rosso and Vital and their co-conspirators knew that Azima’s email

    accounts and computer systems contained trade secrets and intended to steal them in order

    to harm Azima. Defendants did not arrive at Azima’s trade secrets by means of independent

    development, reverse engineering, or by obtaining them from a person or entity with a right

    to disclose any of the trade secrets.

           110.   Defendants Del Rosso and Vital improperly acquired, disclosed, or used

    Azima’s trade secrets without consent or authorization when they instructed CyberRoot to

    hack Azima, steal copies of his data, including trade secrets, and distribute the data through

    BitTorrent and WeTransfer links on blogs created by CyberRoot.




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            111. Defendants’ conduct in acquiring, disclosing, or using Azima’s trade secrets

    was willful and malicious and part of a deliberate, clandestine strategy and conspiracy to

    injure Azima.

            112. Azima discovered that Defendants misappropriated his trade secrets earlier this

    year.

            113. As a direct consequence of the unlawful actions of Defendants Del Rosso and

    Vital and their co-conspirators, Azima has suffered damages, including but are not limited

    to loss of business goodwill, loss in the value of his trade secrets and confidential business

    information, and harm to Azima’s business, in an amount to be proven at trial. Defendants’

    acts of misappropriation have affected interstate commerce.

            114. As a direct consequence of the unlawful actions of Defendants Del Rosso and

    Vital and their co-conspirators, Defendants Del Rosso and Vital have unjustly benefited

    from their possession of Azima’s trade secrets. Upon information and belief, Defendants

    Del Rosso and Vital, who were engaged by Dechert LLP, were paid substantial sums of

    money by Dechert LLP to conspire to misappropriate Azima’s trade secrets.

            115. Del Rosso and Vital paid CyberRoot more than $1 million to conspire to

    misappropriate Azima’s trade secrets.

            116. Defendants’ conduct in misappropriating Azima’s trade secrets as described

    above directly and proximately caused actual injury to Azima.

            117.    Because Defendants’ conduct was willful and malicious, Azima is entitled

    to punitive damages pursuant to N.C. Gen. Stat. § 66-154(c).




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           118.   Because Defendants’ conduct was willful and malicious, Azima is entitled

    to reasonable attorney’s fees under N.C. Gen. Stat. § 66-154(d).

                                COUNT NINE (All Defendants)

    IX.    Unfair and Deceptive Trade Practices (N.C. Gen. Stat. § 75-1.1)

           119.   Plaintiff incorporates by reference the allegations contained in the preceding

    paragraphs.

           120.   Defendants’ conduct in sending Azima phishing and spear phishing emails

    in an effort to access and misappropriate his emails, computers, communications,

    confidential information, personal information, trade secrets, and other data constitutes an

    unfair and deceptive act or practice in violation of N.C. Gen. Stat. § 75-1.1.

           121.   Defendants’     conduct       in   accessing   Azima’s   emails,   computers,

    communications, confidential information, personal information, trade secrets, and other

    data without his consent or knowledge constitutes an unfair and deceptive act or practice

    in violation of N.C. Gen. Stat. § 75-1.1.

           122.   Defendants’ conduct in publishing or distributing Azima’s emails,

    communications, confidential information, personal information, trade secrets, and other

    data on the internet constitutes an unfair and deceptive act or practice in violation of N.C.

    Gen. Stat. § 75-1.1.

           123.   Defendants committed conduct in or affecting commerce by (1) sending

    Azima phishing and spear phishing emails, (2) accessing Azima’s emails, computers,

    communications, confidential information, personal information, trade secrets, and other




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    data without his consent or knowledge, and (3) publishing or distributing Azima’s emails,

    communications, confidential information, personal information, trade secrets, and other

    data on the internet.

           124.   Defendants committed conduct that was unfair and deceptive by

    (1) sending Azima phishing and spear phishing emails, (2) accessing Azima’s emails,

    computers, communications, confidential information, personal information, trade secrets,

    and other data, and (3) publishing Azima’s emails, communications, confidential

    information, personal information, trade secrets, and other data on the internet.

           125. Defendants’ conduct in committing the unfair and deceptive acts or practices

    as described above was willful and malicious and part of a deliberate, clandestine strategy

    and conspiracy to injure Azima.

           126. Defendants’ conduct in committing the unfair and deceptive acts or practices

    as described above directly and proximately caused actual injury to Azima.

           127. Plaintiff discovered that Defendants committed unfair and deceptive acts or

    practices that injured him on or about August 28, 2020 following an investigation.

           128.   Because Defendants’ conduct constituted unfair and deceptive acts or

    practices under N.C. Gen. Stat. § 75-1.1, Plaintiff’s damages should be trebled pursuant to

    N.C. Gen. Stat. § 75-16.

           129.   Because Defendants’ conduct constituted unfair and deceptive acts or

    practices under N.C. Gen. Stat. § 75-1.1 and Defendants willfully and maliciously engaged




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    in that conduct, Plaintiff is entitled to recover reasonable attorney’s fees pursuant to N.C.

    Gen. Stat. § 75-16.1.

                                 COUNT TEN (All Defendants)

     X.    Civil Conspiracy (North Carolina Common Law)

           130. Plaintiff incorporates by reference the allegations contained in the preceding

    paragraphs.

           131. Defendants and their co-conspirators CyberRoot, Dechert LLP, and others,

    knowingly and without authorization or reasonable grounds, wrongfully entered into an

    agreement to commit unlawful acts resulting in injury to Azima by conspirators pursuant

    to a common scheme of stealing Azima’s confidential information to use against him.

           132. Under North Carolina law, a civil conspiracy occurs when there is an

    agreement between two or more individuals to do an unlawful act or to do a lawful act in

    an unlawful way, resulting in injury to a plaintiff inflicted by one or more of the

    conspirators pursuant to a common scheme.

           133. Under this agreement, Defendants directed that CyberRoot send phishing

    emails to induce Azima to reveal his credentials. Defendants would then use Azima’s

    credentials to gain access to Azima’s confidential information and copy the information

    for widespread publication. Defendants paid CyberRoot more than $1 million for these

    actions. Upon information and belief, Defendants were contracted and paid by Dechert

    LLP, on behalf of RAKIA, to conduct the hacking.




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           134. Because of Defendants’ successful and unlawful phishing campaign against

    Azima, Azima had confidential information publicly exposed, suffered harm to business

    relationships, and suffered misappropriation of numerous trade secrets.

           135. Defendants, CyberRoot, Dechert LLP, and Page engaged in this conspiracy

    pursuant to a common scheme of damaging Azima and tarnishing his reputation.

    Defendants are thus liable for the unlawful and tortious acts of all of the co-conspirators.

                              COUNT ELEVEN (All Defendants)

    XI.    Invasion of Privacy – Offensive Intrusion Upon Seclusion

           136. Plaintiff incorporates by reference the allegations contained in the preceding

    paragraphs.

           137. Defendants intruded upon Azima’s privacy by invading his solitude, seclusion,

    private affairs and personal concerns.

           138. Defendants invaded Azima’s privacy intentionally because they knew that the

    hacking of Azima’s email accounts and computer systems would intrude upon his privacy,

    or, at a minimum, Defendants acted with reckless indifference to the consequences of

    conspiring with Dechert LLP, CyberRoot, and other yet unknown co-conspirators to hack

    Azima’s email accounts and computer systems.

           139. Azima was and is highly offended by Defendants’ intrusion upon his privacy,

    and any reasonable person would be highly offended under the same or similar

    circumstances. Azima reasonably expected that the highly confidential and sensitive




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    information, including confidential trade secrets, stored in his email accounts and computer

    systems would remain private.

                                      PRAYER FOR RELIEF

           On the basis of the foregoing, and such evidence as Plaintiff will present at trial,

    Plaintiff requests the entry of judgment in his favor and against Defendants on all counts

    of the Complaint and the award of the following relief:

           1.   Compensatory damages incurred by Azima as a result of the actions of

    Defendants, in an amount to be determined at trial.

           2.   Statutory damages, in an amount to be determined at trial, including treble

    damages and punitive damages.

           3.   A mandatory injunction requiring Defendants to remove and return of Azima’s

    data from any computers, servers, or websites.

           4.   A prohibitory injunction obligating Defendants to refrain in the future from

    committing tortious acts against Plaintiff.

           5.   Pre-judgment and post-judgment interest in the amounts and at the rates

    provided by law.

           6.   Costs and expenses, including reasonable attorney’s fees, incurred by Plaintiff

    in this action and as a result of the actions of Defendants alleged herein.

           7.   Such other and further relief as the Court deems just and proper.




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                                        JURY DEMAND

          Plaintiff Farhad Azima respectfully requests a trial by jury of all issues so triable.

          This, the 15th day of October, 2020.

                                              Respectfully submitted,


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